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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11    JONATHAN MCDOWELL,                      Case No. 5:20-cv-00968-MWF-MAA
 12
                          Petitioner,          JUDGMENT
 13
 14          v.

 15    M. POLLARD, Warden,
 16
                          Respondent.
 17
 18
 19         Pursuant to the Order Dismissing Action and Directing Clerk to File Petition
 20   as Motion for Leave to Amend Petition filed herewith,
 21         IT IS ORDERED AND ADJUDGED that the Petition is denied and the
 22   action is dismissed without prejudice.
 23
 24   DATED: May 6, 2020
 25
 26                                     ____________________________________
                                        MICHAEL W. FITZGERALD
 27                                     UNITED STATES DISTRICT JUDGE
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